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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MARYLAND


 TIMOTHY H. EDGAR et al.,

                Plaintiffs,

        v.                                                   No. 8:19-cv-985 (GJH)
 RICHARD A. GRENELL et al.,

                Defendants.


                                    NOTICE OF APPEAL

       NOTICE IS HEREBY GIVEN that Plaintiffs in the above-captioned case—Timothy H.

Edgar, Richard H. Immerman, Melvin A. Goodman, Anuradha Bhagwati, and Mark Fallon—

hereby appeal to the United States Court of Appeals for the Fourth Circuit from this Court’s

memorandum opinion and order, entered respectively on April 16 and May 7, 2020, granting

Defendants’ motion to dismiss Plaintiffs’ complaint. See ECF Nos. 46, 48.




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May 12, 2020                                    Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

       I hereby certify that on the 12th day of May, 2020, I electronically filed the foregoing

Plaintiffs’ Notice of Appeal with the clerk of the Court by using the CM/ECF system, which will

send a notice of electronic filing.

                                                      /s/ David R. Rocah
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